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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-92-TNM
                                                   )
 COUY GRIFFIN,                                     )
                                                   )
        Defendant.                                 )
                                                   )

      GRIFFIN’S MOTION TO COMPEL PRODUCTION OF CCV FOOTAGE OR
             ALTERNATIVELY TO STRIKE WITNESS TESTIMONY

       Defendant Griffin moves the Court to compel production of CCV footage on which a

government witness in this case relied in a sworn declaration submitted to the Court. To the

extent the government relies on these or similar statements at trial, the Federal Rules of Evidence

would prohibit such trial testimony under the best evidence rule. Fed. R. Evid. 1002.

Accordingly, the Court should order the government to produce the CCV footage and, if it does

not, any testimony based on the videos must be struck.

       On February 4, the government filed the declaration of Sergeant Stephen T. James, a U.S.

Capitol Police Officer. ECF No. 76-1. The government submitted the declaration to establish

that “Vice President Pence remained in the Capitol Complex throughout the Capitol breach.”

ECF No. 76, p. 1. It did so because the offense with which it has charged Griffin requires it to

prove that the defendant entered or remained in the “restricted building[] or grounds” when the

vice president was “temporarily visiting.” 18 U.S.C. § 1752(c)(1)(B).

       Sergeant James’ declaration is entirely based on his review of “relevant CCV footage.”

ECF No. 76-1, ¶¶ 2-4. Griffin has requested production of this CCV footage from the

government on multiple occasions, pursuant to Local Criminal Rule 5.1 and Rule 16, noting that

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any sensitivity concerns could be accommodated by the protective order entered in this case.

The government has not responded to these requests. On March 8, the government served a

discovery letter on Griffin that is dated March 4. The letter states that the government will not

produce CCV footage depicting “evacuation routes and shelter-in-place locations utilized by . . .

the Vice President, on January 6, 2021.” The explanation given is that these videos “have been

designated security information by the USCP Board. . .”

       As Griffin has advised the Court, the government will not disclose to the defense or Court

whether the government intends to prove its § 1752 charges through the testimony of a U.S.

Secret Service agent or through the testimony of a U.S. Capitol Police Officer, like Sergeant

James, whose knowledge is based on a review of CCV footage. Because the government may

therefore offer testimony at trial with a view to establishing Vice President Pence’s presence in

the restricted “building or grounds” that is based on a review of CCV footage, the Court should

order the government to produce the videos, initially pursuant to the protective order, under

Local Criminal Rule 5.1 and Rule 16. Fed. R. Crim. P. 16(a)(1)(E).

       If the government does not produce the videos, any testimony based on the CCV footage

must be struck. Buruca v. District of Columbia, 902 F. Supp. 2d 75, 82 (D.D.C. 2012). “An

original writing, recording, or photograph is required in order to prove its content unless these

rules or a federal statute provides otherwise.” Fed. R. Evid. 1002. In Buruca a party attempted to

offer testimony describing a security camera video’s contents. But the videos were available and

not submitted as evidence. Accordingly, this Court disallowed the party’s testimony describing

the videos. “‘[T]he [best evidence] rule is a mechanism to prevent fraud or mistransmission of

information, i.e., to ensure accuracy.’” Buruca, 902 F. Supp. 2d at 83 (quoting United States v.

Holton, 116 F.3d 1536, 1545 (D.C. Cir. 1997)).



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       In sum, the Court should order the government to produce the CCV footage referenced in

Sergeant James’ declaration or on which any government trial witness relies. If it does not, and

to the extent a witness relies on that footage, their testimony should be struck. Buruca, 902 F.

Supp. 2d at 83.

Dated: March 8, 2022                                 Respectfully submitted,


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                                      Certificate of Service
       I hereby certify that on the 8th day of March, 2022, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

               JANANI IYENGAR
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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].




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